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Plaintirr
vs.

cR. No. 05-20132-0

oA\/lo ALANis

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |V|ay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
gport date of Thursdav, Julv 2;1_,_2005, at 9:00 a.m.. in Courtroom 3. ch F|oor of the
Federa| Bui|ding, Nlemphis, TN.

The period from Nlay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this §§ f day Of l\/|ay, 2005.

     

B RN|CE B.vD NALD '
NITED STATES D|STR|CT JUDGE

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with H\lle 55 and;'or 32ibl FHCrP on __`Q_(£__.i' "

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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This notice confirms a copy ot` the document docketed as number 25 in
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June 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

